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                         UNITED STATES DISTRICT CO URT
                         SO UTHERN DISTRICT OF FLORIDA

                            Case No.16-24919-W ILLIAM S

 DAVID TULLO CH,

       Plainti#,

 VS.

 DISTRICT BOARD O F TRUSTEES
 FO R M IAM I-DADE CO LLEG E,

       Defendant.
                           /

                                        O RDER

       THIS M ATTER is before the Courton Defendant's M otion to Dism iss Plaintiffs

 Com plaint. (DE 13). In the motion,Defendants argue thatthe CourtIacks personal
 jurisdiction because service was improper,and urge the Coud to dismissthis case with
 prejudice because this isthe second attemptatservice,and the Courthasalready once
 dism issed this case withoutprejudice forfailure to serve.As indicated on the docket,
 Plaintifrs response to Defendant's motion was due on October6,2017. (&ee DE 13).
 To date,no response has been filed by Plaintiff.

       Local Rule 7.1(c)(1) provides that failure to timely serve an opposing
 m em orandum of Iaw ''m ay be deem ed sufficient cause for granting the m otion by

 default.'' Nonetheless,the Coud has reviewed the m otion,the attached declaration,and

 the proofofservice thatwas filed to the docket,and finds that Defendant's motion sets

 out an adequate basis for dism issal of this case based on im proper service.

 Accordingly, upon review of the m otion and the record, it is O RDERED AND

 ADJUDGED thatthe motion to dismiss (DE 13) is GRANTED and the Complaint
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 (DE 1) is DISMISSED. AIIpending motions are DENIED AS MOOT. AIIhearings,
 deadlines, and trialsettings are CANCELED . The Clerk is directed to CLOSE this

 Case .

          DONE AND ORDERED in chambers in Miami Florida, this y2
                                                        ,
                                                              ? >'-day       of

 Novem ber,2017.


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                                           KATHLE N M .W ILLIAM S
                                           UNITED TATES DISTRICT JUDG E




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